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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI


Katie Liuzza                              )
                                          )                Case No.
Plaintiff,                                )
                                          )                Division:
v.                                        )
                                          )                JURY TRIAL DEMANDED
AutoTrader, LLC,                          )
Cox Automotive, LLC,                      )
Cox Enterprises, Inc.                     )
                                          )
Defendants.                               )


                                               COMPLAINT

        COMES NOW, Katie Liuzza (“Plaintiff” or “Liuzza”), through counsel, and for her

cause of action states as follows:

                                              INTRODUCTION
        AutoTrader, LLC and Cox Automotive, LLC both subsidiaries of Cox Enterprises, Inc.

(collectively “Cox”) are no strangers to scandal. Cox has been sued for, among other things, ethnic

discrimination1, age discrimination2, gender discrimination3, and disability discrimination4. In

2002, the Equal Employment Opportunity Commission (“EEOC”) sued Cox for creating a “hostile

working environment” for Latinos5. Cox continues to pursue its reckless and illegal employment

discrimination practices.




1
  “EEOC sues Cox Communications for alleged discrimination,” Atlanta Business Chronicle, May 29, 2002.
2
  52-Year-Old Cox Atlanta Account Exec Sues Over Age Discrimination.” Inside Radio. June 3, 2019.
3
  Reilly v. Cox Enterprises, C.A. No. 13-785S, (D.R.I. Apr. 16, 2014).
4
  Id.
5
  “EEOC sues Cox Communications for alleged discrimination,” Atlanta Business Chronicle, May 29, 2002.
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        Cox also has a history of destroying people’s reputations. In 2019, a major motion picture

was released chronicling the life of Richard Jewel6. Jewel’s life was turned upside down when,

among others, Cox Media vilified him in the press by claiming he was responsible for the 1996

Olympic bombing in Atlanta. Cox Media has stuck behind its reckless approach to date by failing

to acknowledge that it made defamatory statements against Richard Jewel and failing to settle

claims associated with its reckless conduct.

        Cox has a history and pattern of reckless behavior and remains determined to discriminate

against its employees and to destroy reputations.

                                    JURISDICTION AND VENUE

1.      This action is brought to remedy discrimination on the basis of gender in the terms,

conditions and privileges of employment and to remedy retaliation against an employee for

activity protected under Title VII all in violation of Title VII of the Civil Rights Act of 1964, as

amended, 42 U.S.C. § 2000e et seq.(“Title VII”), ) the Equal Pay Act, 29 U.S.C. §206, and the

Missouri Human Rights Act (RsMo §213.010 et. seq.;

2.      Injunctive and declaratory relief, damages and other appropriate legal and equitable relief

are sought pursuant to 42 U.S.C. § 2000e (f) and (g) and Missouri Law;

3.      Liuzza, a female and a resident of the State of Missouri, filed a charge of discrimination

against defendant Cox with the Equal Employment Opportunity Commission (“EEOC”) on or

about June 13, 2020 complaining of the acts of gender discrimination alleged herein;




6
 See Wikipedia Richard Jewell (film). Richard Jewell is a 2019 American biographical drama film directed and
produced by Clint Eastwood, and written by Billy Ray.
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4.      Liuzza, a female and a resident of the State of Missouri, filed a charge of discrimination

against defendant Cox with the Missouri Commission on Human Rights (“MCHR”) on or about

June 13, 2019, complaining of the acts of gender discrimination alleged herein;

5.      On or about February 6, 2020 more than 180 days having elapsed since the filing of her

charge, and the MCHR issued plaintiff a notice informing her of her right to sue defendant in

federal court. This notice is incorporated herein by reference and attached hereto as Exhibit 1;

6.      On or about February 6, 2020, more than 180 days having elapsed since the filing of her

charge, and the EEOC issued plaintiff a notice informing her of her right to sue defendant in state

court. This notice is incorporated herein by reference and attached hereto as Exhibit 2;

7.      Plaintiff has complied fully with all prerequisites for jurisdiction in this Court under Title

VII. Jurisdiction of the Court is proper under § 706(f)(3) of Title VII, 42 U.S.C. § 2000e-5(f)(3).

Jurisdiction of the claim under Missouri is invoked pursuant to the diversity jurisdiction of the

Court. The amount in controversy exceeds $75,000;

8.      As the unlawful employment practices complained of herein occurred within the Eastern

District of Missouri venue is proper in this District pursuant to § 706(f)(3) of Title VII, 42 U.S.C.

§ 2000e-5(f)(3);

                                             PARTIES

9.      Plaintiff was employed by Cox for over eleven years until the involuntary termination of

her employment on or about April 9, 2019;

10.     Defendants AutoTrader, LLC and Cox Automotive, LLC are wholly owned subsidiaries

of Cox Enterprise, Inc. which maintains its principal place of business in the City of Atlanta,

Georgia and is registered as an active for-profit corporation having jurisdiction in Delaware.

                ALLEGATIONS COMMON TO ALL CAUSES OF ACTION
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11.    Plaintiff was hired by Cox in 2007 as an advertising consultant;

12.    Throughout her employment, Plaintiff distinguished herself professionally, was promoted

six times, received regular salary increases, and participated in the annual bonus plan;

13.    Liuzza received the following award during her employment: the 2014 Sales Leader of

the Year, the 2013 SPARK Award, the 2011 Simply Outrageous Service Award, the 2011

Central Division Game Changer Award New Car Growth, and the 2011 Central Division Game

Changer Award Alpha Growth;

14.    In April of 2019, Liuzza’s employment was terminated without just cause and without

any plausible explanation;

15.    Prior to the termination of her employment, Cox decided to restructure certain roles by

consolidating certain Director roles (such as the one held by Liuzza) into Assistant Vice

President Positions;

16.    Liuzza was granted an Assistant Vice President role at first, but eventually terminated

from that position less than a month later, on or about April 9, 2019;

17.    Cox accused Liuzza of having gained an unfair advantage in the interview process for

various Assistant Vice President roles. Specifically, Cox alleged that Liuzza was improperly

given certain potential interview questions prior to the interview. In reality, these questions were

made available to all Director level employees;

18.    Despite the fact the interview questions were widely available, Liuzza was the only

individual targeted for allegedly having an unfair advantage;

19.    Ultimately, Liuzza’s position was given to Lee Klein, who scored lower than Liuzza in

the application process;
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20.       Additionally, when Cox found out that one of its male Directors, Gabe Sanchez, missed

the application window, that window was re-opened to accommodate his application. Sanchez

was eventually promoted to one of the Assistant Vice President roles;

21.       Liuzza accumulated significant Long-Term Incentive Plan (“LTIP”) sums throughout her

employment that were never paid out;

22.       Specifically, Liuzza is entitled to vested LTIP from 2017, 2018, and part of 2019;

23.       For 2017, Liuzza earned an LTIP sum of approximately $38,758.00 that remains unpaid;

24.       For 2018, Liuzza earned an LTIP sum of approximately $36,900.00 that remains unpaid;

25.       Liuzza does not know the amount of earned LTIP from 2019, but that also remains

unpaid;

26.       Cox’s practice is to negotiate payout of unpaid LTIP upon any employee’s departure

from the Company, or upon the termination of his or her employment. Here, Cox never engaged

Liuzza in any such discussions, despite repeated attempts by her and her attorneys to do so;

27.       Cox’s practice is also to offer severance to all Director and Assistant Vice President level

employees upon any employee’s departure from the Company, or upon the termination of his or

her employment. Here, Cox never engaged Liuzza in any such discussions, despite repeated

attempts by her and her attorneys to do so;

28.       In the case of Liuzza’s male counterparts, LTIP and severance were always paid;

29.       At or about the same time as Liuzza was terminated, Cox terminated 7 male executives

who were all given LTIP and severance;

30.       Liuzza’s post-employment life has been encumbered by a Non-Compete Agreement

which has prevented her from seeking similar employment in the automotive industry for one

year.
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                       COUNT I – Violation of Title VII on the Basis of Sex

31.       Plaintiff repeats and realleges each and every allegation contained in ¶¶ 1 through 30 of

this Complaint with the same force and effect as if set forth herein;

32.       Defendants have discriminated against plaintiff in the terms and conditions of her

employment on the basis of her gender in violation of Title VII;

33.       Plaintiff is a member of a protected class based on her female gender, and Defendants

were aware of this;

34.       Plaintiff was qualified for all positions she held while employed by Defendants;

35.       Defendants gave better treatment to similarly situated employees outside of Plaintiff’s

protected class by offering standard severances to similarly-situated males, negotiating LTIP

payouts with similarly-situated males, and not terminating the employment of similarly-situated

and lesser qualified males;

36.       Defendants’ decision to fail to pay out vested LTIP to Plaintiff was motivated by her sex;

37.       Defendants’ decision to not offer at least a standard severance to Plaintiff was motivated

by her sex;

38.       Plaintiff is now suffering and will continue to suffer irreparable injury and monetary

damages as a result of defendant’s discriminatory practices unless and until this Court grants

relief.

          COUNT II – Violation of the Missouri Human Rights Act on the Basis of Sex

39.       Plaintiff repeats and realleges each and every allegation contained in ¶¶ 1 through 38 of

this Complaint with the same force and effect as if set forth herein;

40.       Defendants’ decision to terminate Plaintiff’s employment was motivated by her sex;

41.       Defendants’ decision to fail to pay out vested LTIP to Plaintiff was motivated by her sex;
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42.       Defendants’ decision to not offer at least a standard severance to Plaintiff was motivated

by her sex;

43.       Plaintiff is now suffering and will continue to suffer irreparable injury and monetary

damages as a result of defendant’s retaliatory practices unless and until this Court grants relief.

                             Count III - Violation of the Equal Pay Act

44.       Plaintiff repeats and realleges each and every allegation contained in ¶¶ 1 through 43 of

this Complaint with the same force and effect as if set forth herein;

45.       Plaintiff’s male counterparts were paid greater wages, specifically with respect to LTIP

payout and severance payments;

46.       Plaintiff’s male counterparts who were paid greater wages performed substantially equal

work in substantially similar positions and under similar working conditions. Those male

counterparts were paid out severances and LTIP sums received such consideration even after the

terminations of their employment, which is all in stark contrast to the treatment endured by

Liuzza;

47.       As a result of defendant’s discriminatory acts, plaintiff has suffered and will continue to

suffer monetary damages and damages for mental anguish and humiliation unless and until this

Court grants relief.

                                   Count IV – Breach of Contract

48.       Plaintiff repeats and realleges each and every allegation contained in ¶¶ 1 through 48 of

this Complaint with the same force and effect as if set forth herein;

49.       Plaintiff’s employment was governed by an employment contract;

50.       That contract entitled Plaintiff to receive LTIP payouts as identified above;
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51.     Defendants breached the Agreement by failing to payout LTIP sums for 2017, 2018, and

2019;

52.     Defendants’ violation was knowing, willful, and wanton, and deserving of an award for

punitive damages assessed against Defendants.

                                 Count V – Unjust Enrichment

53.     Plaintiff repeats and realleges each and every allegation contained in ¶¶ 1 through 53 of

this Complaint with the same force and effect as if set forth herein;

54.     Plaintiff employment with Defendants conferred a benefit upon Defendants;

55.     Defendants accepted the benefit of Plaintiff’s work and retained her employment for

approximately twelve years;

56.     Defendants accepted an additional benefit of Plaintiff’s work by retaining earned and

vested LTIP sums and failing to pay those out to the Plaintiff;

57.     Defendants’ retention of these sums, consisting of vested LTIP sums, is inequitable under

the circumstances;

58.     Permitting the Defendants to retain these sums would unjustly benefit the Defendants and

deprive Ms. Liuzza of the money she earned by working for the Defendants;

59.     Plaintiff seeks to recover the full amount of earned and vested LTIP sums, as well as

associated damages and interest as permitted under Federal law;

60.     Defendants’ violation was knowing, willful, and wanton, and deserving of an award for

punitive damages assessed against Defendants;

                                    PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully requests that this Court enter a judgment:

(a) Declaring that the acts and practices complained of herein are in violation of Title VII;
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(b) Enjoining and permanently restraining these violations of Title VII;

(c) Directing Defendant to take such affirmative action as is necessary to ensure that the effects

of these unlawful employment practices are eliminated and do not continue to affect Plaintiff’s

employment opportunities;

(d) Directing Defendant to place Plaintiff in the position she would have occupied but for

defendant’s discriminatory and retaliatory treatment of her, and make her whole for all severance

she would have received but for Defendant’s discriminatory and retaliatory treatment, including,

but not limited to, wages, stock options, pension, and other lost benefits;

(e) Awarding Plaintiff compensatory and punitive damages in excess of the amount of

$1,000,000.00

(f) Awarding Plaintiff the costs of this action together with reasonable attorneys’ fees, as

provided by § 706(k) of Title VII, 42 U.S.C. § 2000e-6(k);

(g) Declaring that the acts and practices complained of herein are in violation of Missouri Law.

(h) Directing Defendant to pay plaintiff compensatory damages and damages for her mental

anguish and humiliation; and

(i) Granting such other and further relief as this Court deems necessary and proper.

                              DEMAND FOR A TRIAL BY JURY

        Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff demands a trial

by jury in this action.
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                                         Respectfully Submitted,

                                         McMichael, Logan, Schaeffer, & Gilpin


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